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                       EXHIBIT 18
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          https://www.t-mobile.com/support/home-internet/connect/google-nest-wifi-router




          IEEE 802.11 – 2020




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                                  IEEE 802.11 - 2020


10[a] a wireless transceiver to   APs include a wireless transceiver to send and receive data.
send and receive data; and




                                  IEEE 802.11 - 2020




                                                                                                      ’
                                  IEEE 802.11 - 2020
10[b] a clock,                    APs include a clock, such as the TSF timer.




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                                    IEEE 802.11 - 2020

10[c] said first access point to: The APs sold by T-Mobile are configured to perform as described in limitations 10[d] – 10[e].
10[d] transmit a beacon signal, Beacon frames comprise the value of the TSF timer at the time of transmission.
said beacon signal comprising a
value of the clock of the first
access point at a time when the
first access point transmits that
beacon signal,


                                    IEEE 802.11 - 2020

10[e] such that a second access     In mesh networks, the mesh STA examines the reception time of the Beacon frames and adjusts its TSF to the
point operating in the multi-       most delayed neighbor STA.
channel radio system
synchronizes a clock of that
second access point by
extracting the time data from
the beacon signal of the first
access point and adjusting the
clock of the second access
point in accordance with that
time data from the beacon
signal of the first access point.   IEEE 802.11 – 2020



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